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Entered: November 13th, 2023
Signed: November 13th, 2023

SO ORDERED




                                     IN THE UNITED STATES BANKRUPTCY COURT
                                          FOR THE DISTRICT OF MARYLAND

         In re:                                        )             Case No. 23-15444-DER
                                                       )             (Chapter 11)
         CTLC, LLC,                                    )
                                                       )
                               Debtor.                 )
                                                       )

                                          ORDER GRANTING MOTION TO TAKE
                                         EXAMINATION OF 4D ASSOCIATES, LLC

                  Upon consideration of the Motion to Take Examination of 4D Associates, LLC (the

        “Motion”) filed by WCP Fund I LLC as servicer for Pacific RBLF Funding Trust, the authorities

        cited therein, and controlling law, it is, by the United States Bankruptcy Court for the District of

        Maryland, hereby:

                  ORDERED, that the Motion be, and hereby is, GRANTED; and it is further,

                  ORDERED, that WCP Fund I LLC as servicer for Pacific RBLF Funding Trust is

        authorized to issue the subpoena attached to the Motion as Exhibit K.
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                             END OF ORDER
